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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                       MDL NO. 2804
OPIATE LITIGATION
                                                Case No. 17-MD-2804
THIS DOCUMENT RELATES TO:
                                               Judge Dan Aaron Polster
City of Rochester v. Purdue Pharma, L.P.,
No. 19-op-45853 (Track 12)

Lincoln County v. Richard S. Sackler, M.D.,
No. 20-op-45069 (Track 13)

City of Independence, Missouri v. Williams,
No. 19-op-45371 (Track 14)

County of Webb, Texas v. Purdue Pharma,
L.P., No. 18-op-45175 (Track 15)


        RESPONSE TO PLAINTIFFS’ AND PEC’S SUR-REPLY REGARDING
          OPTUMRX, INC.’S MOTION TO DISQUALIFY MOTLEY RICE
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                                        INTRODUCTION

        Motley Rice tries to do in its “sur-reply” what it couldn’t do in its initial opposition—

explain away the firm’s clear and ongoing violation of Rule 1.11(c). It rehashes old arguments. It

improperly offers new ones—some of which this Court already rejected at the hearing. It

introduces an “expert” after the hearing parroting Motley Rice’s briefs instead of offering

independent expert analysis. But no matter how hard it tries, Motley Rice cannot change Rule

1.11(c)’s plain language or the policies animating the Rule. So it instead tries to dismantle the

Rule.

        But Rule 1.11(c)’s ethical standard remains, and it requires Motley Rice’s disqualification.

Motley Rice wielded government power when it investigated OptumRx. It obtained confidential

information about OptumRx through those investigations. Now it is litigating against OptumRx in

private civil litigation where it can use that confidential information to OptumRx’s material

disadvantage. This Court has already applied Rule 1.11(c) to disqualify a former government

lawyer whose participation in meetings discussing initiatives to combat the opioid crisis gave her

a strategic advantage in opioid litigation. The grounds for disqualifying Motley Rice under Rule

1.11(c) are even clearer: Motley Rice lawyers—including Linda Singer—gathered confidential

information about OptumRx as deputized special attorneys general through coercive government

subpoenas. The firm cannot un-know that information. What it can do is use that information

against OptumRx in this litigation. Rule 1.11(c) exists precisely to prevent that result.

        That was clear before the American Bar Association’s Standing Committee on Ethics and

Professional Responsibility issued Formal Opinion 509. But that ABA opinion only further

confirms that Motley Rice has violated Rule 1.11(c). The ABA opinion contradicts every argument

advanced by Motley Rice and its proposed expert. It confirms that private-practice attorneys

qualify as public officials when they accept “special” government appointments. It confirms that


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public entities like the bellwether plaintiffs qualify as “private clients” under Rule 1.11(c) when

they press claims in civil litigation against parties like OptumRx. And it confirms that confidential

government information includes any information that the government obtains that is protected

from public disclosure.

       And yet, even in the face of that opinion, Motley Rice refuses to concede. Instead, it

responds to that new authority by peddling a remarkable interpretation of the opinion that would

render Rule 1.11(c) a nullity. Misconstruing the ABA opinion and ignoring all the other authorities

and common sense, Motley Rice argues that the firm has no confidential government information

about OptumRx from its investigations because it can obtain the same information in discovery.

That is neither what the Rule says nor what it means. Rule 1.11(c) would be meaningless if former

government lawyers could avoid the ethical concerns simply by serving discovery to obtain the

information they learned about through their government investigations. Under the legal ethics

regime that Motley Rice imagines, up is down and left is right because applying the rules in the

normal way threatens the firm’s business model.

       Rule 1.11(c) does not turn on whether the lawyer represents plaintiffs or defendants or

whether the lawyer is a skilled advocate with good intentions. The Rule protects the integrity of

the judicial process, and it applies when a lawyer obtains information through government power

that it can use to advance private litigation. As OptumRx’s two ethics experts—one of whom is on

the ABA’s Standing Committee on Ethics and Professional Responsibility—explained, “[t]here

can be no more obvious violation of Rule 1.11(c)” than Motley Rice’s violation here.

Muchman/Montgomery 2nd Suppl. Report at 1; see also Dkt. 5300-2 (Muchman/Montgomery

Suppl. Report) at 10 (“We do not believe that this is a close call.”).




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                                           ARGUMENT

I.       MOTLEY RICE WAS A “PUBLIC OFFICER” WHEN IT INVESTIGATED
         OPTUMRX ON BEHALF OF HAWAII, D.C., AND CHICAGO, AND THE
         BELLWETHER PLAINTIFFS ARE MOTLEY RICE’S “PRIVATE CLIENTS.”

         In its initial opposition, Motley Rice did not dispute that it was a “public officer or

employee” within Rule 1.11(c)’s meaning when it investigated OptumRx. But now, Motley Rice

argues that it was not acting in a governmental capacity when it investigated OptumRx as deputy

attorneys general and that those were just ordinary outside-counsel arrangements. At the same

time, it claims that its representation of the bellwether plaintiffs in this MDL is unique and not an

ordinary private representation. Yes, Motley Rice now argues that investigating a company while

wielding special governmental power is no different from any other “outside counsel” role but that

representing a county or city in civil litigation is something special, not a traditional, private

representation. As the Court recognized at the hearing, that argument is incorrect.1 In Formal

Opinion 509, the American Bar Association’s Standing Committee on Ethics and Professional

Responsibility confirmed what has always been true: “Rule 1.11(c) applies . . . to lawyers in

private practice who are appointed to be special prosecutors and continue to represent private

clients,” and “the term ‘private client’ also includes public entities and officials whom the lawyer

represents in private practice.” ABA Comm. on Ethics & Prof’l Resp., Formal Op. 509 at 8 (Feb.

28,       2024),      https://www.americanbar.org/content/dam/aba/administrative/professional_

responsibility/ethics-opinions/aba-formal-opinion-509.pdf.




1
  In the Court’s words, “I can’t understand why you [Motley Rice] don’t see that there is a
difference between your work for these -- your firm’s work for these three entities and your work
for all of your other clients, and particularly the four -- you know, the four bellwether clients that
you’re representing.” Dkt. 5312 at 18:6–11.

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       A.      In investigating OptumRx, Motley Rice’s attorneys wielded authority that
               they could not have wielded but for their special role as government lawyers.

       In its initial opposition, Motley Rice did not question that it was a “public officer or

employee” when it investigated OptumRx on behalf of Hawaii, D.C., and Chicago. Now Motley

Rice argues that when it investigated OptumRx on behalf of those governments, it was “not a

public officer or employee and . . . Rule 1.11 does not apply to its representations.” Dkt. 5320-1

(Sur-Reply) at 2.

       As an initial matter, Motley Rice has waived its right to challenge its status as a public

officer by not contesting the point in earlier briefing. See, e.g., Merrill v. King, 2022 WL 18402555,

at *5 n.6 (E.D. Mich. Dec. 21, 2022) (“[A]rguments made for the first time in a reply (or sur-reply)

brief are generally considered waived.”); In re Nat’l Prescription Opiate Litig., 2021 WL 320754,

at *11 (N.D. Ohio Feb. 1, 2021) (“Plaintiffs provide no explanation for why their alternative

request is made for the first time in their reply brief . . . Accordingly, Defendants are correct that

Plaintiffs waived this argument.”).

       In any case, Motley Rice’s new argument is wrong. The firm tries to use language from its

retainer agreements to suggest that it was nothing more than an “independent contractor” for those

governments. Sur-Reply at 2–4. And it points to declarations from government employees in

Hawaii, D.C., and Chicago explaining that those governments retained ultimate control over

Motley Rice’s investigations. Dkts. 5320-2, 5320-3, 5320-4. Because it was subject to those

governments’ ultimate control, Motley Rice argues, it cannot be a “public officer.” Sur-Reply at

2–4. Motley Rice made a similar argument at the hearing, but the Court rejected it. The Court

recognized that there was “no question that they [Motley Rice] were performing public functions.”

Dkt. 5312 at 6:25–7:1; see also id. at 16:11–13, 17:20–22 (recognizing that Motley Rice’s service

was as a “public lawyer” for Hawaii and engaged in a “standard private representation” in the



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bellwether litigations); id. at 18:21–23 (“as a special AG exercising state power that is different

from when you’re outside counsel”). As an appointed special deputy attorney general, Motley Rice

exercised government authority that is different in kind from a private lawyer’s role in civil

litigation.

        Motley Rice’s attempt to minimize its power as government investigators elevates form

over substance. It is undisputed that Motley Rice was appointed “Special Deputy Attorney

General” in Hawaii and “Special Assistant Corporation Counsel” for Chicago to investigate

OptumRx. See Dkts. 5276-6 at 1, 5276-17 at 9, 5322-1. Those governmental appointments

endowed the firm with authority to act as the government in those investigations. Motley Rice has

already admitted that it served the government subpoenas on OptumRx. Dkt. 5288 (Opp.) at 3 (“As

counsel for Hawai‘i, Motley Rice served a subpoena on Optum . . . .” (emphasis added)); id. at 4

(“As counsel for DC, Motley Rice served a subpoena on Optum . . . .” (emphasis added)). The D.C.

subpoena was mailed to OptumRx in a Motley Rice envelope. See Dkt. 5276-11. Motley Rice

negotiated with OptumRx over the scope of the subpoenas, the timing of OptumRx’s responses,

and the terms of the confidentiality agreements. See Caplis Suppl. Decl. ¶¶ 5–9, 11–14; Grant

Suppl. Decl. ¶¶ 5–6, 8. And OptumRx made its productions to Motley Rice. See Dkt. 5276-2

(Caplis Decl.) ¶¶ 5, 7–8, 10, 12–14; Dkts. 5276-8, 5276-9, 5276-13, 5276-14, 5276-15.

        Motley Rice’s expert shrugs off those facts, arguing that the firm is immunized from ethical

responsibilities because the investigative subpoenas issued in the names of the Attorneys General.

Dkt. 5320-5 (Crystal Report) at 6–7. But that is always true, even when a full-time deputy attorney

general handles an investigation; they, like Motley Rice, qualify as government lawyers even if

the Attorney General or their boss “issues” the subpoena or retains ultimate authority over the

investigation. Whatever title Motley Rice had or whatever language was in the retainers or




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whoever signed the subpoenas, Motley Rice investigated OptumRx by wielding government

authority—authority that it could not have wielded but for the authority that those governments

vested in the firm. Motley Rice admits as much. See Sur-Reply at 3 (“[Motley Rice] assisted the

State in its exercise of its own powers to carry out investigations and enforce the law.”). Its lawyers

are not exempt from the ethical rules because they received their government power by special

appointment. See ABA Formal Op. 509 at 8 (“Rule 1.11(c) applies, for example, to lawyers in

private practice who are appointed to be special prosecutors and continue to represent private

clients . . . .”); Muchman/Montgomery Suppl. Report at 2 (“The information that Motley Rice

acquired about OptumRx was obtained under government authority.”); id. at 5 (“The Rule applies

precisely because Motley Rice gathered information exercising the power of a government

lawyer . . . .”).

        The cases Motley Rice cites are of no help. Santa Clara, Lead Industries Association, and

Nibert all involved the propriety of contingency-fee arrangements to compensate outside counsel

to governments in regular civil litigation. See County of Santa Clara v. Superior Court, 235 P.3d

21, 25–26 (Cal. 2010); State v. Lead Indus. Ass’n, 951 A.2d 428, 474–80 (R.I. 2008); State ex rel.

Discover Fin. Servs., Inc. v. Nibert, 744 S.E.2d 625, 630–40 (W. Va. 2013). And City of Chicago

considered whether Chicago could outsource its investigatory authority to an outside attorney,

whether that outside attorney was a “city official” under the city’s ethics code, and whether

contingency-fee compensation was allowed. See City of Chicago v. Purdue Pharma L.P., 2015

WL 920719, at *1–6 (N.D. Ill. Mar. 2, 2015). Those cases have nothing to say about Rule 1.11(c)

generally or about its implications for Motley Rice’s situation specifically.

        Motley Rice and its expert complain that OptumRx’s textual and principled approach to

Rule 1.11(c) is “draconian” and “would make it difficult for governments to obtain private law




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firm representation.” Sur-Reply at 6–7, 6 n.7 (quoting Crystal Report at 8–9). Not so. As the Court

recognized at the hearing, Rule 1.11(c) bars a representation only in which the confidential

government information could be used to the party’s material disadvantage: “[I]f it’s completely

unrelated, . . . we wouldn’t be here.” Dkt. 5312 at 27:8–19. It is not much to ask a lawyer vested

with government power to refrain from later suing the target of the investigation in a private lawsuit

in which the lawyer could use the information learned through the investigation against the target.

On the contrary, it is the bare minimum that the ethics rules have long demanded.

       Motley Rice’s contrary position is dangerous. If accepted, it would give free rein to private

lawyers to seek out special appointments so they can use government power for their own private

profit. According to Motley Rice, so long as a private lawyer negotiates a retainer agreement with

the right set of “magic words” about the lawyer serving as an “independent contractor” and the

government head’s retaining oversight—which again is always true even when a full-time deputy

attorney general or Assistant U.S. Attorney handles an investigation under their manager’s

authority—the private lawyer leading the investigation for the government can do whatever she

wants with the confidential government information she obtains, including using it against the

investigation target in later private litigation to enrich the lawyer and the lawyer’s new client. That

is not how the ethical rules work for lawyers wielding government power.2 See also Ohio R. Prof’l

Conduct 1.11, cmt. 4 (emphasizing the need for government lawyers “to maintain high ethical

standards”).




2
  Contrary to Motley Rice’s argument, the Rule is not limited to full-time W-2 employees; it
governs any “public officer”—including those that also have employment outside the government.
A private lawyer who is appointed to serve a public function cannot avoid the ethical rules by
labeling itself a “contractor” and specifying that the government retains ultimate control over its
work. See ABA Formal Op. 509 at 7 (“Rule 1.11(c) applies . . . also to lawyers currently serving
as public officers . . . who, outside their government service, represent private clients.”).

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        It is not an overstatement to say that Motley Rice invites this Court to destroy Rule 1.11(c).

It asks the Court to empower lawyers to avoid Rule 1.11(c) altogether by structuring their “outside

counsel” agreements a certain way so they can use government power to gain unfettered access to

confidential information about parties and then use that information against those same parties for

private gain. That is a perverse, corrupt result that this Court should not endorse.

        B.      Motley Rice’s representation of the bellwether plaintiffs is the same as any
                other private-client representation.

        Motley Rice again argues that because the bellwether plaintiffs are local governments, they

cannot be “private clients.” Sur-Reply at 6–7. That argument finds no support in any source. It

ignores both the purpose of Rule 1.11(c) and the guidance from the rule’s drafters. Rule 1.11(c)

was designed to eliminate “the risk” that governmental power “might be used for the special

benefit” of another client. Ohio R. Prof’l Conduct 1.11, cmt. 4. As Rule 1.11(c)’s drafters

recognized, that risk exists regardless of whether the second client is “public or private.” Id. If that

were not enough, the ABA in its recent formal opinion confirmed that “the term ‘private client’

[in Rule 1.11(c)] also includes public entities and officials whom the lawyer represents in private

practice, if those clients are not legally entitled to employ the confidential information.”3 ABA

Formal Op. 509 at 9–10 (“[T]here is no less need to protect against the misuse of confidential

government information on behalf of a public entity . . . .”). In representing the bellwether

plaintiffs, Motley Rice is acting no differently from any other attorney representing a client in

private civil litigation.


3
  There can be no dispute that the bellwether plaintiffs “are not legally entitled to [use] the
confidential information” (ABA Formal Op. 509 at 9–10) that Motley Rice acquired through its
government investigations. The information was provided to Motley Rice subject to confidentiality
agreements that strictly prevent Motley Rice from sharing that information with the bellwether
plaintiffs or using the information in other matters. The fact that some of the same documents may
later be produced in this case does not legally entitle the bellwether plaintiffs to use in opioid
litigation the confidential government information that Motley Rice acquired in the investigations.

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        Motley Rice’s expert argues that Rule 1.11(c) focuses solely on “the client’s private status,”

not “the lawyer’s private status.” Crystal Report at 7. He cites no support for that opinion—because

there is none. It also contradicts the Rule’s purpose, which is “to prohibit lawyers from

transforming government knowledge into private benefit.” Muchman/Montgomery Suppl. Report

at 6 (citation and quotation marks omitted). It also ignores Comment 4 to the rule, which explains

that the second client can be any “client, public or private.” Ohio R. Prof’l Conduct 1.11 cmt. 4.;

see also ABA Formal Op. 509 at 9–10; Muchman/Montgomery Suppl. Report at 5–6 (“‘Private

client,’ as used in Rule 1.11(c), means any client, including a government entity, whom the lawyer

represents while practicing law at an entity other than the government, such as a law firm. . . . The

history of and policy reasons for the Rule, as well as precedent, clearly establish that any other

interpretation of the term ‘private client’ subverts the Rule’s purpose . . . .”).

        Motley Rice argues that the bellwether plaintiffs, as local subdivisions, are uniquely

situated because they perhaps can seek broader abatement remedies in public-nuisance suits. Sur-

Reply at 6. But as the Court already observed at the hearing, Motley Rice is “not exercising any

public function” in representing the bellwether plaintiffs: “You’re outside counsel. . . . you’re not

issuing government subpoenas, . . . government documents aren’t being produced to you in a

confidential manner.” Dkt. 5312 at 22:14–22; see also id. at 16:13–18 (“You [Motley Rice] are

private counsel here, all right? You’re private counsel, you’re representing – you’re outside

counsel, not a public -- not a government lawyer. You’re just a plain, regular outside counsel on a

-- presumably a contingency arrangement with the entities that are filing these cases.”). As this

Court recognized, there is an obvious difference between acting as the government in an

investigation and representing a government in civil litigation. The bellwether plaintiffs are




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“private clients” under Rule 1.11(c) because Motley Rice is not exercising any government power

in representing them.

                                         *       *       *

       When Motley Rice investigated OptumRx for Hawaii, D.C., and Chicago, it was exercising

government power and functioning as a public officer. In the MDL, Motley Rice is representing

clients in private litigation and is no different from a run-of-the-mill, private-practice attorney.

That is a textbook violation of Rule 1.11(c).

II.    DR-22 IS (STILL) IRRELEVANT.

       The parties have already briefed DR-22’s bearing on Motley Rice’s ethics violations. See

Opp. at 6–11; Dkt. 5300 (Reply) at 7–11. Nothing in Motley Rice’s sur-reply changes the analysis.

DR-22’s plain language and this Court’s and Special Master Cohen’s rulings confirm that DR-22

encompasses only investigations “regarding the marketing, sales, distribution or dispensing of

Opioids.” Dkt. 2576 (DR-22) at 4. The Hawaii, D.C., and Chicago investigations did not “regard[]

the marketing, sales, distribution or dispensing of Opioids,” so DR-22 does not apply.

       DR-22 has no bearing on the ethical issues. OptumRx has not produced in this MDL the

lion’s share of the information from the three government investigations, and Motley Rice was

required to apply Rule 1.11(c) before it agreed to represent plaintiffs in opioid litigation against

OptumRx. Speculating about what might or might not happen in MDL discovery in the future

doesn’t bear on Rule 1.11(c)’s operation.

       In any case, DR-22 and every order interpreting it confirm that it requires the reproduction

only of documents that were first produced in other opioid-related lawsuits, investigations, and

public hearings. Special Master Cohen has explained that “[i]f a Defendant produces discovery in

another opioid-related forum, that Defendant must promptly produce those discovery materials to

the MDL Repository.” Dkt. 3699 at 4 (emphasis added). In another order, Special Master Cohen


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wrote that “defendants are obligated to produce to the MDL Repository documents they earlier

produced in any opioid-related ‘closed federal government investigation.’” Dkt. 3291 at 2

(emphasis added). The PEC itself has acknowledged that DR-22 is limited to “opioid-related”

matters. Dkt. 5265 at 24:23–24 (at a December 1, 2023 hearing, Pete Weinberger conceded: “I

realize that the [DR-22] ruling talks about opioid-related investigations” (emphasis added)).

       Motley Rice has already represented that its earlier government-sponsored investigations

of OptumRx were not opioid-related. In its opposition, Motley Rice told the Court that the

investigations concerned alleged “overbilling for insulin”—not the “promotion and dispensing of

opioids.” Opp. at 1. And Ms. Boggs declared under oath that the three governmental subpoenas

“did not reference any opioid drug by name or opioids generally.” Dkt. 5302-1 (Boggs Decl.) ¶¶ 6,

9, 14. Even Motley Rice’s thirteenth-hour expert argues that the “crux of [the] claims” in those

investigations was “price fixing,” not opioid misuse. Crystal Report at 10–11.4 Given those

admissions, Motley Rice cannot now argue the opposite—that its investigations concerned opioid

marketing, distribution, or dispensing within the scope of DR-22. Cf. Reynolds v. Commissioner,

861 F.2d 469, 472 (6th Cir. 1988) (judicial estoppel exists “to protect the courts from the

perversion of judicial machinery,” including preventing parties from “blowing hot and cold as the

occasion demands,” or “hav[ing] [one’s] cake and eat[ing] it too.” (citations omitted)). Regardless,

Motley Rice’s previous position is the truth, as confirmed by two supplemental declarations from

OptumRx’s lawyers who attest that neither Motley Rice nor any other government lawyer ever

suggested that the investigations were regarding the “marketing, sales, distribution or dispensing

of [o]pioids.” See Caplis Suppl. Decl. ¶¶ 10, 12; Grant Suppl. Decl. ¶ 7.



4
  Even though Motley Rice led the investigations and has had OptumRx’s confidential government
information for years now, the firm never suggested that DR-22 applies to those investigations
until OptumRx moved to disqualify the firm.

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       Motley Rice’s new position seems to be that DR-22 applies to any document referencing

opioids that is produced in any litigation, investigation, or public hearing—even if the litigation,

investigation, or hearing did not itself concern the “marketing, sales, distribution, or dispensing of

[o]pioids.” Neither this Court nor Special Master Cohen has ever suggested that DR-22 applies in

such a sweeping manner. DR-22, by its plain terms, applies only to cases, investigations, and

hearings “regarding the marketing, sales, distribution, or dispensing of [o]pioids.” DR-22 at 4;

Dkt. 2712 (Amendment to DR-22). Motley Rice’s approach would effectively require defendants

to review every document they have ever produced in any legal proceeding to assess its potential

relevance to this case. No defendant has ever been subject to such an expansive standard, which

would violate the Federal Rules of Civil Procedure and due process. In any case, the contours of

DR-22 are irrelevant to Motley Rice’s ongoing ethics violation because the confidential

government information that Motley Rice had access to extends well beyond OptumRx’s

document productions in the investigations: It covers all non-public information that Motley Rice

gathered in those investigations.

III.   THAT PORTIONS OF SOME INVESTIGATION PRODUCTIONS MIGHT HAVE
       ALREADY BEEN PRODUCED IN THIS MDL CHANGES NOTHING.

       Motley Rice next argues that because some of the documents that it gathered in the

investigations have also been produced in the MDL, that means that none of the information that

Motley Rice obtained through its investigations can be “confidential government information” that

could be used to OptumRx’s material disadvantage under Rule 1.11(c). Sur-Reply at 10–12; Dkt.

5320-6 (Boggs Suppl. Decl.) ¶¶ 6–11. That argument is meritless.5


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  OptumRx has never claimed that none of the documents produced in the investigations were
produced in this MDL. Mr. Hooker’s supplemental declaration identified non-exhaustive examples
of the types of documents produced to counter Motley Rice’s and Ms. Boggs’s earlier false claims
that the productions related only to insulin, did not contain opioid-related information, and
contained minimal confidential information. See Dkt. 5300-1 (Hooker Suppl. Decl.) ¶¶ 10–19. Ms.

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       If anything, Motley Rice’s analysis of the documents produced to Hawaii and D.C. proves

OptumRx’s point. Taking Ms. Boggs’s supplemental declaration on its face, she concedes that at

least hundreds of the Minnesota Attorney General documents (that were produced to Hawaii and

D.C. subject to confidentiality provisions) have not been produced in this MDL. Boggs Suppl.

Decl. ¶¶ 9(c), 10. And she explains exactly why those unproduced documents could be used to

OptumRx’s material disadvantage. They include rebate agreements with drug manufacturers

(providing a window into OptumRx’s negotiations across its business), Business Implementation

Committee grids “that contain detailed information about formulary placement for drugs and

related internal recommendations and decisions,” “slide decks from OptumRx’s Industry Relations

team analyzing formulary and rebate strategy for numerous drugs including insulins and opioids,”

and other “high-level documents that discuss OptumRx’s rebate strategy, formulary management,

and drug pricing generally.” Id. ¶ 10. OptumRx already explained how those types of documents

(and others) “give Motley Rice an employee’s-eye view of the very aspects of OptumRx’s business

that the bellwether plaintiffs challenge.” Reply at 6. Under Rule 1.11(c), the question is simply

whether the information could be used to OptumRx’s material disadvantage. Motley Rice’s own

evidence shows that very real risk.

       Ms. Boggs also admits that her analysis was limited to documents produced in the Hawaii

and D.C. investigations that Mr. Hooker cited specifically in his supplemental declaration. See

Boggs Suppl. Decl. ¶¶ 8, 11. Motley Rice says nothing about the thousands of other documents

produced in the government investigations except to speculate that maybe some of them have also

been produced in the MDL. As explained above, the 903 documents that Motley Rice claims were




Boggs’s supplemental declaration is effectively a recognition that her first declaration was
incorrect.

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produced in the MDL (id. ¶ 9(a)) represent a sliver of the total information and documents that

Motley Rice obtained across the three investigations. See also Caplis Decl. ¶¶ 8–9, 12, 14–15; Dkt.

5276-3 (Grant Decl.) ¶¶ 7–8. Many of those documents may not concern opioids specifically (and

thus may not be subject to discovery in opioid litigation) but nonetheless provide a window into

OptumRx’s business that help Motley Rice tailor its claims against OptumRx.

IV.    MOTLEY RICE’S APPROACH WOULD DESTROY RULE 1.11(c).

       Motley Rice presses an interpretation of Rule 1.11(c) that would render the rule

meaningless, proposing a regime under which virtually no information—except perhaps the

nuclear codes and other classified materials (see Crystal Report at 11)—could ever qualify as

confidential government information. The Court should reject Motley Rice’s interpretation.

       Motley Rice’s expert claims that “if the information in question could be obtained through

discovery in civil cases,” then that information is “otherwise available to the public” and not

confidential government information. Crystal Report at 9. As OptumRx already explained (see

Reply at 8–11), that interpretation contradicts the Rule’s text and policy. Just about all information

could be obtained, one way or another, by a litigant through civil discovery. That interpretation of

“otherwise publicly available” would swallow the rule.

       In its request for leave to file supplemental authority, Motley Rice turns Formal Opinion

509’s discussion of “confidential government information” inside out. Motley Rice quotes this

language from the opinion:

               Rule 1.11(c) does not apply to all information obtained under
               government authority, but only to information that, at the time the
               Rule is applied, . . . is not otherwise publicly available. Whether
               government information is publicly available—e.g., whether it can
               be obtained through routine discovery—will be a question of fact.
               So is the question of whether the information “could be used to [the
               person’s] material disadvantage.”




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ABA Formal Op. at 4 (footnotes omitted). Motley Rice seizes on the words “can be obtained

through routine discovery,” arguing that “the investigation documents at issue are not confidential

government information and that Motley Rice’s access cannot materially disadvantage Optum

when all Plaintiffs’ counsel can access these documents through discovery.” Dkt. 5338 at 2. That

position finds no support in the ABA opinion. None. And Motley Rice conveniently omits the

word “routine.” It is clear from the surrounding discussion that “routine” in the ABA opinion does

not extend to documents produced under a protective order or confidentiality agreement that

prevents their public disclosure. It instead means generally available to the public—whether

through a FOIA request or through the internet—and not subject to any sort of confidentiality

treatment. See Muchman/Montgomery 2nd Suppl. Report at 5 (“Routine discovery does not

include information subject to a protective order, such as proprietary or trade secret information,

nor does it include information produced pursuant to Confidentiality Agreements signed by

government lawyers.”). Even inasmuch as it is subject to discovery in this case, the information

that is the subject of OptumRx’s motion does not qualify as “routine” discovery.

       The footnotes surrounding the sentence Motley Rice cites confirm that Motley Rice’s

reading is incorrect. Footnote 13, for example, explains that the “conceptualization of ‘confidential

government information’ [in Rule 1.11(c)] is analogous to the definition of ‘nonpublic

information’ in 5 C.F.R. § 2635.703(b),” which “defines ‘nonpublic information’ as information

that an employee obtains due to Federal employment and that he knows or reasonably should

know: ‘(1) Is routinely exempt from disclosure under 5 U.S.C. 552 [FOIA] or is protected from

disclosure by statute, Executive order or regulation; (2) Is designated as confidential by an agency;

or (3) has not actually been disseminated to the general public and is not authorized to be made

available to the public on request.’” ABA Formal Op. 509 at 4 n.13. Here, the information that




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OptumRx produced to Motley Rice qualifies as confidential government information because it is

exempt from FOIA disclosure and Motley Rice is forbidden by the confidentiality agreements

from publicizing the information.

       OptumRx’s experts, one of whom is a member of the ABA Standing Committee on Ethics

and Professional Responsibility, refute Motley Rice’s attempt to distort Formal Opinion 509. They

explain that Motley Rice’s “interpretation and application of the Rule would render the protections

of Rule 1.11(c) meaningless” because “recipients of investigatory subpoenas would have no

protection from that sort of government overreach if government lawyers could simply avoid Rule

1.11(c) altogether by merely requesting the information through discovery in a later case.”

Muchman/Montgomery 2nd Suppl. Report at 7. OptumRx’s experts also explain that the judicial

authorities cited in the ABA opinion—including this Court’s opinion disqualifying Ms. Rendon

under Rule 1.11(c)—confirm that the possibility of acquiring the same or similar information in

discovery does not make information publicly available. Id. at 5–6.

       This Court has already reached the same conclusion. When disqualifying Endo’s lawyer

under Rule 1.11(c), this Court described Ms. Rendon’s access to “nonpublic information”

concerning “the inadequate staffing levels, funding deficiencies, strategies, initiatives, operations,

and allocation of resources” that “may go to the heart of Plaintiffs’ damages claims.” In re Nat’l

Prescription Opiate Litig., 2019 WL 1274555, at *4–5 (N.D. Ohio Mar. 19, 2019). The fact that

Ms. Rendon could have asked deponents to testify about the same information shared during task

force meetings did not save Ms. Rendon from disqualification.

       The facts here are even worse. Motley Rice acquired more confidential government

information than Ms. Rendon received—about OptumRx’s financial and business “strategies,

initiatives, [and] operations” (id. at *4) and more—but it did so through coercive government




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subpoenas rather than “sidebar” conversations. Although the counties may have shared

information with Ms. Rendon “in a spirit of confidence and trust” (id.), OptumRx’s productions

were strictly protected by written confidentiality agreements. And unlike Motley Rice, Ms. Rendon

lacked ongoing access to the confidential government information and would have had to draw

from her memory. Motley Rice has had information and documents in hand for years, giving it a

clear roadmap to draft its complaint, craft discovery requests, tailor search terms and custodians,

and otherwise prosecute this litigation.

       And this Court’s decision to disqualify Ms. Rendon is no outlier. There are many other

examples of courts disqualifying former government lawyers for possessing information that could

easily have been later obtained in civil discovery. See, e.g., United States v. Villaspring Health

Care Ctr., Inc., 2011 WL 5330790, at *6 (E.D. Ky. Nov. 7, 2011) (confidential government

information included information “obtained from interviews with former employees”); Kronberg

v. LaRouche, 2010 WL 1443934, at *4 (E.D. Va. Apr. 9, 2010) (confidential government

information included details about “the structure of [defendant’s] organizations generally, the role

of other individuals who worked with [defendant] . . . , the relationship among the Defendants, and

[defendant’s] other activities that may be admissible under Fed.R.Evid. 608(b) or otherwise”

(emphasis added)). There is nothing suggesting that the ABA committee intended its reference to

“routine” discovery to write Rule 1.11(c) out of existence. On the contrary, the whole point of the

ABA opinion is to emphasize that circumstances like exist here violate the Rule.

       In any case, by fixating on specific documents, Motley Rice misses the forest for the trees.

Rule 1.11(c) speaks of confidential government information—not just documents—that a

government lawyer obtains from whatever source. OptumRx’s document productions are just one

part of the confidential information that Motley Rice acquired as government investigators. For




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example, under its retention agreement with Hawaii, Motley Rice was required to “submit a report”

labeled “attorney-client privilege/work-product communication” that described, among other

things, “the facts or data considered in formulating the report,” a “complete statement of

investigative findings and the bases of such findings,” “an analysis of the propriety of the PBMs’

billing practices,” and “a recommendation on whether or not to proceed with civil litigation against

any PBM.” Dkt. 5276-5 at A1-1. Everything in that report—which required Motley Rice to detail

its “mental roadmap” and “strategic insights” for litigation (Villaspring, 2011 WL 5330790, at *6;

Kronberg, 2010 WL 1443934, at *4)—constitutes confidential government information that is

unavailable to the public but available to Motley Rice only by virtue of its role as a government

investigator.6 And OptumRx wasn’t the only subpoena recipient in those investigations. See Dkt.

5288-4 (Boggs Decl. Ex. D) ¶ 18; Opp. at 1. Any other confidential information about OptumRx

that Motley Rice obtained or created during its government investigations qualifies as confidential

government information under the Rule.

                                         *       *       *

       There is no doubt that Motley Rice is violating Rule 1.11(c). The firm’s ethical violations

are clear-cut and, as OptumRx’s experts have explained, not even a “close call.”

Muchman/Montgomery Suppl. Report at 10. But even if there were some doubt on that score, “any

doubts as to the existence of an asserted conflict of interest must be resolved in favor of

disqualification.” Gordon v. Dadante, 2009 WL 2732827, at *6 (N.D. Ohio Aug. 26, 2009)

(citation and quotation marks omitted). This Court has already disqualified a defense-side lawyer

on far less egregious facts. In re Nat’l Prescription Opiate Litig., 2019 WL 1274555, at *4–5. It


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 If OptumRx (or any third party) subpoenaed Motley Rice for those investigation materials,
Motley Rice would claim that any number of laws or privileges (attorney-client privilege, attorney
work product, investigative privilege) prevent their disclosure. Those investigation-related files
are obviously not “publicly available.”

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should disqualify Motley Rice to confirm that the rules apply to everyone, plaintiffs’ counsel and

defense counsel alike.

                                         CONCLUSION

       Ohio’s ethical rules are designed to eliminate the risk that power vested in the government

“might be used for the special benefit of [an] other client.” Ohio R. Prof’l Conduct 1.11, cmt. 4.

Motley Rice wielded government power to investigate OptumRx and, in the process, obtained

information that it can use to OptumRx’s material disadvantage in this litigation. It is this Court’s

duty “to preserv[e] the integrity of the judicial process, maintain[] the public confidence in the

legal system and enforce[e] the ethical standards of professional conduct.” Gordon, 2009 WL

2732827, at *6 (citation and quotation marks omitted). Under Rule 1.11(c), that requires Motley

Rice’s disqualification.

March 6, 2024.                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on March 6, 2024, a copy of the foregoing was served on all counsel of record

by filing the same with the Court’s ECF system.


                                                      /s/ Brian D. Boone
                                                        Brian D. Boone




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